                                      Case 1:24-cv-00563-RP                                           Document 6-2               Filed 07/02/24             Page 1 of 2


                                                                                                                    EXHIBIT B

                                                            350 Camino De La Reina                                         877-382-6063                       Mon-Fri: 8am - 7:30 pm ET
                                                            Suite 100
                                                            San Diego, CA 92108                                            Original Creditor                   COMENITY CAPITAL BANK
                                                                                                                                                                             APLHAEON
                                                                                                                           Original Account Number                  xxxxxxxxxxxxxx9556
                                                                                                                           MCM Account Number                                322806435
           11/25/2023
                                                                                                                           Current Owner                Midland Credit Management, Inc.
                                                                                                                           Current Servicer             Midland Credit Management, Inc.
                                                                                                                           Current Balance                                    $4,525.36
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                                                                         P12 T389 006
                              Norma Saldana                                              e%%e%%e%e%%%%%e%


                              424 Susan Dr
                              Buda,   TX 78610-5708
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           RE COMENITY CAPITAL BANK                               APLHAEON
           Dear Norma,
           We understand that you are inquiring about or requesting documentation about the accuracy of our records concerning this account per
           Texas Finance Code. After reviewing the information you provided, our account notes, and information provided by the previous creditor,
           with an address of 2795 E. COTTONWOOD PARKWAY SUITE 100 SALT LAKE CITY, UT 84121, we have concluded that our information is
           accurate. We have also enclosed documents regarding the account. If you believe we have reached this conclusion in error, please reference
           the information below:
           We have received the following information from you: We are uncertain of what you are specifically disputing
           Next steps: In order for us to further investigate your inquiry please provide the following: Written explanation and documentation
           demonstrating any errors in your account information
           Some additional information about your account: Date opened: 12/16/2021. Date of charge off: 5/31/2023. Current servicer: Midland
           Credit Management, Inc.. Date purchased: 6/23/2023. Original purchase balance: $4,525.36. Accrued interest: $0.00. Accrued fees: $0.00.
           Total payments/Adjustment applied: $0.00. Date paid in full (if applicable): .




           Recent Transactions:
                     Date                                 Amount                                 Date                       Amount                   Date               Amount




           *Only the last 31 payments are reflected in the above table
00001424




           For additional information you may contact us online at MidlandCredit.com, you may also call Consumer Resolutions at 877-366-1520.
           In the meantime, as previously requested by you, we will no longer be contacting you regarding this account by phone or in writing unless
           required by law or you request that we resume communications.
           Please call Consumer Support Services at 877-382-6063 if you have any additional questions.
           Se habla espanol: 877-898-3955
           Sincerely,

           Angelique Ross
           Consumer Support Services




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                                                                  SEE REVERSE FOR IMPORTANT DISCLOSURE INFORMATION                                                                 DRL2


 DRL2-.indd 1                                                                                                                                                                    6/26/23 11:06 AM
                   Case 1:24-cv-00563-RP               Document 6-2           Filed 07/02/24           Page 2 of 2




                                            Important Disclosure Information:
     Please understand this is a communication from a debt collector. This is an attempt to collect a debt.
     Any information obtained will be used for that purpose.

                             Calls to and/or from this company may be monitored or recorded.
                                                         Basic Information
 Original Creditor          COMENITY CAPITAL BANK                  MCM Account Number          322806435
 Original Account
                            xxxxxxxxxxxxxx9556                     Charge-Off Date             5/31/2023
 Number
 Current Creditor
 The sole owner of this     Midland Credit Management, Inc.        Current Servicer            Midland Credit Management, Inc.
 debt
                                                 Important Contact Information
 Send Payments to:                  Send disputes or an instrument tendered as     Physical Payments for Colorado Residents:
 Midland Credit Management, Inc.    full satisfaction of a debt to:                Colorado Manager, Inc.
 PO Box 2004                        Attn: Consumer Support Services
 Warren, MI 48090-2004              320 E Big Beaver Rd.                           8690 Wolff Court, Suite 110
                                    Suite 300                                      Westminster, CO 80031
                                    Troy, MI 48083                                 Phone (303) 920-4763
                                    You may also call: 877-382-6063
We are required under state law to notify consumers of the following additional rights. This list does not contain a complete list
of the rights consumers have under applicable law:

NMLS ID: 934164

IF YOU LIVE IN CALIFORNIA, THIS APPLIES TO YOU: California license number pending.

IF YOU LIVE IN MASSACHUSETTS, THIS APPLIES TO YOU: NOTICE OF IMPORTANT RIGHTS: You have the right to make a written or
oral request that telephone calls regarding your debt not be made to you at your place of employment. Any such oral request will
be valid for only ten (10) days unless you provide written confirmation of the request postmarked or delivered within seven (7)
days of such request. You may terminate this request by writing to MCM.

IF YOU LIVE IN NORTH CAROLINA, THIS APPLIES TO YOU: North Carolina Department of Insurance Permit #119505601,
#119500908, #119506854, #119502738, #119506372, #119500436, #119500840, #119505741. Midland Credit Management, Inc.
350 Camino De La Reina, Suite 100, San Diego, CA, 92108

IF YOU LIVE IN TENNESSEE, THIS APPLIES TO YOU: This collection agency is licensed by the Collection Service Board of the
Department of Commerce and Insurance.

Complete Chain of Title Including All Post Charge-Off Purchasers of This Debt, Date of Transfer, and Address, ending with the
current owner:
COMENITY CAPITAL BANK; 6/23/2023; 2795 E. COTTONWOOD PARKWAY SUITE 100, SALT LAKE CITY, UT 84121
Midland Credit Management, Inc.; 350 CAMINO DE LA REINA SUITE 100, SAN DIEGO, CA 92108




                                                                                                                              DPRODA

By providing your telephone number below, you authorize MCM or its agents to contact you regarding your account at such number by
any means, including calling, texting, using automated dialer systems and automatic telephone dialing systems, and using pre-recorded or
artificial voice messages. By providing your e-mail address below, you agree to receive electronic mail communications from MCM or its
agents regarding your account at such e-mail address and confirm that such e-mail address is not furnished or owned by your employer.

 Street Address

            City                                                                       State                   ZIP

          Email                                                                   Cell Phone

   Work Phone                                                           Home Phone
